2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 1 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 2 of 16
         2:22-cv-01292-BHH-MGB                          Date Filed 01/19/24                  Entry Number 139                      Page 3 of 16

d d $bd  d`NF%<dYGdSJ#a&dH!a9'=ZTd7>-?@[.IAdJPd6(!_UdKQd\Ld : /]dBVO)!^0GCdM,dR*;1W+Xd2Ddd3c58d"\4GEd     ÐõÙÜÇÝðƉÅƉ

                                           
                                                                       ĔƉ/Ɖ                                   
                                                             Í  Ņĝ Ɖ,Ɖî Ɖ*œ  Ɖ

                         ĮLmƉå¦Ɖ;ņŷĂ Ɖ                                      Ɖ
                                 , &2K)]                                     Ɖ
                                                                           B      * NĪƉÆ ƉçƉ '¸''ăſ¯8'µ';ÚÛæØÈƉ
         ë)ôƉÔ)<ÑìâƉËí)XZ\ƉòZƉ řƉi§Ɖ                                    B
                                                                              B
                                32L]                                     Ɖ

                        !# B"B$ B$ "!B"BB"!B
                          B"B "B! "BB ! !BBB'B"B

 +¹Ɖ                ÉIhƉ_ƉG oDĄƉ¨©ƉvŴĸºƉã CiƉŇB ňƉéŉą MŗĞIĘƉWSSƉ>]GM sƉ<pğƀ Ɖ ƆpĬƉÎ)Ɖ°¶V8³Ɖ

                                                             ] EJ:4]M;]Y$:0]N%(G]HV>:5](I]'@O]
                                                       0]9 =

    #!*)! +(%B B BtƉ1 Ɖ ƉŚƉśd$4Ɖ5ƉƉį ƉƉbƉ"wƉ ƉaFĴ2!Ɖ
 5Ɖİ ŔĠ ĵ"ƉƉ bH OƉ&Ɖg ŜƉƉŝƉŊ% ƉE  Ɖ EPƉŞ 6ƉƉH# Ɖ`ƉƉ
%  »Ɖ > Ɖª«Ɖŵv]Ćę BƉx\ÞÌÒƉÕƉïó;[ÓyƉ


 êı ¼ƉÊĹĭƉ_Ɖķ JDćƉ¬­ƉsŶI½Ɖä CĲƉŋB JƉ[JĈ LMġmCƉ                           YƉ Ɖ+ ¾Ɖ
       WTTƉ>GL şƉ<oDƁ Ɖ ƇŌhƉX)Ɖ±·V8´Ɖ
                                                                                                  

      %"(!+!+$&'+(&B B B Ɖō% /Ɖ UƈƉĺuƉƉ ŠƉŎl!ƉkQƉ
ĚƉr²šƉƉƉ q"ƉƉƉŢƉ cƉ0Ģ$PƉ uƉ Ɖ !ƉţƉĕUŤƉFwƉƉ ťƉƉłŸ ĻƉtƉ
 Ɖe^ŦƉž&Ɖ1Ƃ6Ɖŧ ƉŨ ƉƉ"ƉƉKũƉŏƉƉ ČƉī ŪƉƉ ļƉƉ ®Ɖ

   =. ¿Ɖ                                                                              ÏūƉ čƉ+!ÀƉ
 ßƉ                                                                                  àƉ


        +ƉēŀĶ2 ƉN eƉďƉÖ Ɖ ¡Ɖ*!N7Ɖ=¢Ɖ9(ƉƉ  Ɖ #Ɖ:(z }OƉ# Ɖ Ɖ ƉF Ɖ`Ɖ #ģĽ ÃƉ
  jƉ:({Ɖ6Ɖ. ƉƉŐƉŕ  ƉƉ Ɖ&ƉŹg Ɖ/Ɖ Ɖ ÄƉƉ #Ɖ9(3ƉƉ Ɖ3ƉK0 ƉƉ&ƉƉ Ɖ
ƉŬƉ -ƉAƉ ƉcƉ kƉ Ń Ɖ,ƉŭƉdƉƉ
Y ÁƉ 1/19/2024
                                       + +
                                      ++
                                                                                           è Ɖ

                                            ("6PWA]:!]-A*];A] ?./RZ]-B+]
                                            ("6PWA                                                                  ST:F[I]I(#7QXC]

 ñƉľ%ƉQƉ% #ƉŘ4ƉĎƉ "Ɖź%Ɖ,ƉƉ0ŖƉ& ĤƉ81]<!]?DU\
ö   ÷     ø??ùúûü  ý                 þ     ÿĀ@@@?āƉ 4Ɖ2ƉfŻƉƉ&ńƉŮě Ɖ Ɖ qÂƉ


                               3;/+,B<3B=-,B4,7931BA-3B/::@,:B38B8,6@,:>:B?.0:B:@*53,2)B
áĒƉĥƉ1ƉĉH$Ɖ Ɖn Ɖ,ƉĊ1$5Ɖĳ rn- .jƉ/Ɖ-Ŀa$ RƉƉ -.Ɖ ƉƉ Ɖ
! ů ƉĐƉŁĦƉAĖƉ f"RƉƉ0ħ ƉƉƉ ƉđƉŰĜƉżƉlŽƉAƉKƃƉƉ ƉőűƉ ƉŲ Ɖ^ƉėƉ
EųƉĨƉƄƉƉƉŒƉƉ2$ƉĩƉ Ɖ ċ7Ɖ×Ɖ £Ɖ* ƅ7Ɖ=¤Ɖ9(|3:~¥Ɖ
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 4 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 5 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 6 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 7 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 8 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 9 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 10 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 11 of 16




1/19/2024
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 12 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 13 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 14 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 15 of 16
2:22-cv-01292-BHH-MGB   Date Filed 01/19/24   Entry Number 139   Page 16 of 16
